                     ~
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ir.~D STA~ES DISTRICT COURT
 \~RN DIFRICT OF PENNSYLVANIA
        DARUS LEON HUNTER                     ~~~~~~~-




                                                                                                 18            0348
      (In the space above enter the full name(s) ofthe plaintiff(s).)


                            - against-

 _ _ _UNIVERSITY OF PENNSYLVANIA                                                        COMPLAINT
                                                                                   Jury Trial:   efyes    0 No

                                                                                                 (check one)




 (In the space above enter the full name(s) ofthe defendant(s). Ifyou
 cannot fit the names of all of the defendants in the space provided,
 please write "see attached" in the space above and attach an
 additional sheet ofpaper with the full list of names. The names
 listed in the above caption must be identical to those contained in
 Part L Addresses should not be included here.)

 I.          Parties in this complaint:

 A           List your name, address and telephone number. If you are presently in custody, include your identification
             number and the name and address of your current place of confinement. Do the same for any additional
             plaintiffs named. Attach additional sheets of paper as necessary.


 Plaintiff           Name                              DARUS LEON HUNTER
                      Street Address                    2521 N SPANGLER STREET
                     County, City                      PHILADELPHIA, PHILADELPHIA
                      State & Zip Code                  PENNSYLVANIA, 19132

                     Telephone Number                  (215) 303-8787 [CELL], (215) 727-1508 [HOME]



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B.        List all defendants. You should state the full name of the defendants, even if that defendant is a government
          agency, an organization, a corporation, or an individual. Include the address where each defendant can be
          served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
          Attach additional sheets of paper as necessary.

Defendant No. 1                        Name      UNIVERSITY OF PENNSYLVANIA
                                       Street Address     3400 WALNUT STREET
                                       County, City       PHILADELPHIA, PHILADELPHIA
                                       State & Zip Code       PENNSYLVANIA, 19104


Defendant No. 2                        Name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                       Street Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~

                                       County, City _ _ _ _ _ _ _ _ _ _ _ _ _-'---------~

                                       State & Zip C o d e - - - - - - - - - - - - - - - - - - - - - -


Defendant No. 3                        Name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                       Street Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
                                       County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
                                       State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Defendant No. 4
                                       Street Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                       County, City _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
                                       State & Zip Code _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




II.       Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U .S.C. § 1331, a
case involving the United States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. §
1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than
$75,000 is a diversity of citizenship case.

A.        What is the basis for federal court jurisdiction? (check all that apply)
          'fi/'Federal Questions                Q Diversity of Citizenship


B.        If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at
          issue? Fair Credit Reporting Act, 15 U.S.C. § 1681 ("FCRA") , Retaliattion,
           Fair Debt Collection Practices Act (FDCP A.




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            C.         If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

                       Plaintiff(s) state(s) of c i t i z e n s h i p - - - - - - - - - - - - - - - - - - - - - - - - -

                       Defendant(s) state(s) of citizenship _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

            ID.        Statement of Claim:

            State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
            complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
            include further details such as the names of other persons involved in the events giving rise to your claims. Do not
            cite any cases or statutes. If you intend to allege a number ofrelated claims, number and set forth each claim in a
            separate paragraph. Attach additional sheets of paper as necessary.

            A.         Where did the events giving rise to your claim(s) occur?      IN PHILADELPHIA, PENNSYLVANIA



            B.         What date and approximate time did the events giving rise to your claim(s) occur? THE EVENTS
              ARE ONGOING




  What
            c.
happened
 to you?          Please see attached.




 Who did
  what?




   Was
 anyone
   else
involved?




Who else
saw what
happened?




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Facts: PLAINTIFF DARUS LEON HUNTER attended the UNIVERSITY OF PENNSYLVANIA from January of

2009 until December of 2012 as an undergraduate student pursuing a bachelor's degree. In December of

2012, DARUS LEON HUNTER graduated from said university and was conferred a bachelor's degree, with

a minor in Anthropology and a major in Biology. During Mr. Hunter's undergraduate career, in June of

2012 he complained to Dr. Amy Gutman, the university president, about loans and grants that he

believed were not being deposited into his student account. Following Mr. Hunter's complaint, student

financial services personnel were ordered to meet with Mr. Hunter in June of 2012. At the meeting,

student financial services employee SHARON PEPE', informed Mr. Hunter that Penn was cancelling his

most recently acquired federal student loan because, it had been discovered that he had exceeded the

US student aid undergraduate loan aggregate and in lieu of private funds, would not be able to continue

attending the university and completing his undergraduate degree (See Exhibit A). Student loans are

processed by the assigned student financial services representative. Approximate (2) weeks after said

meeting. Financial aid representatives informed Mr. Hunter that the university was issuing a loan, which

would cover the expenses for (1) semester, in order for Mr. Hunter to complete his degree. Mr. Hunter

and his financial aid representative, Dennis Drumm, discussed extensively, Mr. Hunter's plan to

complete a double major. Mr. Hunter was informed that he would not be able to complete the planned

double major. Mr. Hunter completed the semester and was awarded a bachelor's degree. Mr. Hunter

filed a lawsuit during his last semester, eventually realizing that the federal department of aid rules

regarding the time by which funds must be deposited into a student's account were continually violated.

Mr. Hunter attended graduate school at Chestnut Hill College, last in December of 2016. In June of 2017,

Mary Ellen Tepper of the University of Pennsylvania collections, informed Mr. Hunter that, the

University had sent bills to the wrong address of 5263 W Jefferson street for (6) months. She stated that

there was no return information reported by the US postal service (See Exhibit 8). She also informed Mr.

Hunter that although he received alumni mail and newspapers from the University {See exhibit C) the
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loan department did not have his updated address. Ms. Tepper then demanded (6) payments of $187.23

in addition to interest, all at once. On September 21st, 2017, the University, via Ms. Tepper, agreed to

accept $23 dollars a month from Mr. Hunter (See exhibit C). In both October and November of 2017, the University

received payments of $23, as agreed by the parties, yet the University has continued to report that

there is a payment amount of $187.23, due each month (See exhibit D). Mr. Hunter has requested that

the University cease reporting to Transunion that the loan payment is (120) days late; they have refused.

On September 14th 2017, the University obtained a copy of Mr. Hunter's credit report. Mr. Hunter did

not authorize this action. The University reports to Equifax that the loan account was opened May 31st

2015 (See exhibit D). Mr. Hunter has not had loans issued to him by the University since 2012.
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   Please see attached document for remainder of the complaint.


IV.        Injuries:


If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,

you required and r e c e i v e d . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




V.        Relief:


State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and
the basis for such compensation.
  I ask that the court determine and award whatever compensation it feels serves justice.




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I declare under penalty of perjury that the foregoing is true and correct.


Signed this    li   day of_..._Ia=n=u=a=ry+------------, 20_llL_.




                                              Signature of
                                              Mailing Address
                                                             Plointif Q_.: ;_ : ;._ ~_·
                                                                               _ _ _ _ _ _ _ _ _ _ __
                                                                   2521 N Spangler street
                                                                   Philadelphia, Pennsylvania 19132


                                              Telephone Number       215-303-8787, 215-727-1508 (home)
                                              Fax Number (ifyou have one) - - - - - - - - - - - - -
                                              E-mail Address     darus@sas.upenn.edu



Note:     All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
          provide their inmate numbers, present place of confinement, and address.


For Prisoners:

I declare under penalty of perjury that on this _ _ day of                                 20_ , I am delivering
this complaint to prison authorities to be mailed to the Clerk's Office of the United States District Court for the
Eastern District of Pennsylvania.



                                                 Signature of P l a i n t i f f : - - - - - - - - - - - - - - - -
                                                       Inmate Number
                                                                        ---------------~




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Penn: Loan System                                                          Page I of I
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                                 II Help          Student Financial Services                PennPortal                                                    ~out

                                  Application summary

                                  App ID                          17                                  Loan type                 037·01 DL Sub Unsub I
                                  Loan period                     Suml 12 -' Sum2 12                  Borrower
                                  App status                      Denied - Penn                       Appsoun:e                 Loan Office
                                  Status date                     06/25/2012                          App created               05/10/2012

 Hunter, Danis
 Former Student                   Status reason                   Reached aggr loan max               Credit status expires     nta
                                  Year tn school                  5                                   Enrollment status         Full time

  -My loan appllcations
   My requests                     Loan Guaranty                                                      Private loan self-certiTicat:ion information
   My loan COITI!$.P history          Guaranty received                        n/a                    Loan period start
   Request new loan            _. - • Net loan fees (.50/o)                   0.00                    Loan period end
   MainPaqe                                                                                           Cost of attendance
                                   Initial dfsb requirements                                          Other aid

                                   Status                                    Provisional
                                   Status date                               06/07/2012


                                   Loan amount             Subsidized = o.oo                    Unsubsidized       = 0.00          Total =0.00

                                  Amount type                   Requested                Eligible          Certifiec:I      Guaranty           Accepted          Paid
                                  Subsidized                                                 0.00                 0.00          250.00             0.00          0.00
                                  UnsubSi<liZed                                              0.00                 0.00        6,000.00             0.00          0.00
                                  Total loan                                                 0.00                 0.00        6,250.00             0.00          0.00




                                  Isack to list I                            IView disbursement info I                                I   View correspondence history   I
                                  Copyright © 2018, UnNerslty of Pennsylvanla. All rights """""'ld.
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   Penn
~· Art.,
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         & Sdcm·t·s
                                                                     DARUS HUNTER <darus@sas.upenn.edu>



E-Mail
Tepper, Mary Ellen A.<tepper@upenn.edu>                                             Mon, Aug 21, 2017 at 1:33 PM
To: "darus@sas.upenn.edu" <darus@sas.upenn.edu>


    Good Afternoon:



    We spoke on Thursday afternoon , August 17, 2017 concerning your forbearance for the Institutional Loan.



    We had reviewed the options over the phone regarding the forbearance, but I said I would send the
    information to you by e-mail.



    Also, the change of address that Conduent (our servicer} had in May 2017 was changed on May 16, 2017
    to the current address where you are residing due to Loan Verification from PHEAA when you applied for
    consolidation for your Perkins' Loan.



    I did explain on the phone, that the institutional Loan does not have an income based repayment plan.



    I also explained that there was not any mail return on the notices that were sent to you regarding the
    Institutional Loan.



    Here is the forbearance information:



   December 2016 to September 2017, interest due will be $759.51 , scheduled monthly payment of $187.38
   will due on 10/1 /2017.



   December 2016 to October 2017, interest due will be $843.90, scheduled monthly payment of $187.38 will
   be due on 11/1/2017.



   December 2016 to November 2017, interest due will be $928.29, scheduled monthly payment of $187.38
   will be due on 12/01/2017.



   December 2016 to December 2017, interest due will be $1,012.68, scheduled monthly payment of
   $187.38 will be due on 01/01/2018.
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I am forwarding all the notices sent to you regarding the repayment of your institutional loan by mail.




Thank you.



Mary Ellen Tepper

Collections

1-215-898-8645
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cr..1ClPenn
~· Art'\ & Sciences                                   DARUS HUNTER <darus@sas.upenn.edu>



E-Mail
Tepper, Mary Ellen A.<tepper@upenn.edu>                          Thu, Sep 21, 2017 at 2:32 PM
To: DARUS HUNTER <darus@sas.upenn.edu>



  Good Afternoon:


 The University will accept $23.00 a month for 6
 months for your Institutional Loan. The first
 payment will be due October 1, 2017 for
 $23.00. Your account will be reviewed March
 2018 for an increase in payments.


 Thank you.


 Mary Ellen
 Collections


 From: DARUS HUNTER [mailto:darus@sas.upenn.edu]
 Sent: Wednesday, September 13, 2017 4:23 PM
 To: Tepper, Mary Ellen A.
 Subject: Re: FW: E-Mail

 [Quoted text hidden]
~Penn
                                                  D
                  Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 12 of 32
                                                                                                                                       Non-Profit
                                                                                                                                       U.S. Postage

~Arts & Sciences                                                                                                                       PAID
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University of Pennsylvania                                                                                                             Pennsylvania
School of Arts & Sciences
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Philadelphia, PA 19104-3284               111• d I! i"if! Ip1.1p ! l 1 I1 11 111l• 1 1 ll 1 l 1 1l1 ! llll• l 1 l 1 1I1l1 l1 l11I !!
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COLLEGE OF LIBERAL AND
  PROFESSIONAL STU_DIES
                                        t1R. DARUS HUNTER
                                         1242 S SlST ST APT 1
Stay in touch with Penn Alumni.
                                        PHILADELPHIA PA 19143-4344
Join QuakerNet, your key to connect:
www.alumniconnections.com/penn




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         663
          FICO® Score 8                        FICO® Score 8                    FICO® Score
          based on                             based on Equifax                 8 based on
          Experian data as                     data as of                       Trans Union
          of01/08/2018.       Experian         01/08/2018.           Equifax    data as of      TransUnion
                                                                                01/08/2018.



       Your score is below the                Your score is well below the
                                                                               Your score is well below the
         average score of U.S.                average score of U.S.
                                                                               average score of U.S.
         consumers, though many               consumers and
                                                                               consumers and
         lenders will approve loans           demonstrates to lenders
                                                                               demonstrates to lenders
       with this score.                       that you are a risky
                                                                               that you are a risky
                                              borrower.
                                                                               borrower.



Summary
                                   Experian               Equifax                 Trans Union
~evolvingJJredit        Acqounts
;ount                              7                      0                       0
lalance                            $27599                 $0                      $0
                                   "

>ayment                            $544                   $0                      $0
)pen                               6                      0                       0
;1osed                                                    0                       0
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ine of Credit Accounts
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;ount                              0                      0                       0
lalance                            $0                     $0                      $0
>ayment                            $0                     $0                      $0
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>eferred/Unknown                   0                      0                       0
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1sta/lment Credit Accounts
;ount                              42                     0                       0
lalance                            $189999                $0                      $0
'ayment                    $7                       $0              $0
                        Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 15 of 32
)pen                                                0               0
;1osed                     41                       0               0
>eferred/Unknown           0                        0               0
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>ayment                    $551                     $0              $0
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lalance                    $0                       $234476         $234476
                                                         ''

'ayment                    $0                       $1343           $1343
)pen                       0                        0               0
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>eferred/Unknown           0                        54              52


Personal Information
                           Experian                 Equifax        Trans Union
'ersonal Information
Jame                       DARUS L HUNTER           DARUS HUNTER    DARUS LEON HUNTER
>ate of Birth              1972                     1916            1972


                          ~- ~3
~dress




>ate Address Reported      2014-09-06               -0001-11-30    2014-09-04
'revious Address
~dress    1               1618 N 55TH ST APT 18
                          PHILADELPHIA PA, 19131
~dress    2               5263 W JEFFERSON ST APT
                          1
                          PHILADELPHIAPA, 19131

~dress    3               3232 MONUMENT ST
                          PHILADELPHIA PA, 19121
~dress    4               322 LINDLEY AVE
                          PHILADELPHIA PA, 19120
~dress    5               5618 N MASCHER ST
                          PHILADELPHIAPA, 19120
lddress 6               1103 W ROCKLAND ST
                     Case 2:18-cv-00348-TJS
                        PHILADELPHIA PA, 19141 Document 3 Filed 02/01/18 Page 16 of 32
lddress 7               5802 STOCKTON RD
                        PHILADELPHIA PA, 19138
:mployment Details
:mployer 1              SELF-EMPLOYED            NEWMAN INC



Consumer Statements
  No Consumer Statements

CrE,!dit lnquiriE,!S .
                        Experian                 Equifax                Trans Union
1quiry 1.. .
1quiry Date             2017-12-01               2017-12-01             2017-12-01
;reditor Name           DISCOVER FINANCIAL SER   DISCOVER BANK          DFS DHE
;reditor Address        2500 LAKE COOK RD        2500 LAKE COOK RD HOME -
                        RIVERWOODS IL, 60015     EQUITY RIVERWOODS IL,
                                                 60015
;reditor Phone          2244054642               MAIL ONLY
                        Experian                 Equifax                Trans Union
1quiry 2
1quiryDate                                                              2017-09-14
;reditor Name                                                           UNIVOFPA
;reditor Address
;reditor Phone

                        Experian                 Equifax                Trans Union
1quiry 3 .
1quiryDate              2016-11-29               2016-11-29             2016-11-29
;reditor Name           CREDIT TECHNOLOGY INC    CREDIT TECHNOLOGY      CREDIT TECH
;reditor Address        1990 ELA CADENA DR
                        RIVERSIDE CA, 92507
;reditor Phone          9517781501
                        Experian                 Equifax                Trans Union
1quiry 4
1quiryDate              2016-10-28               2016-10-28             2016-10-28
;reditor Name           EQUIFAX MORTGAGE SERVI EQUIFAX MORTGAGE SER     EQUIFAX
;reditor Address        815 E GATE DR STE 102
                        MOUNT LAUREL NJ, 08054
;reditor Phone          8003330037
                        Experian                 Equifax                Trans Union
1quiry 5 ....
1quiryDate              2016-08-05               2016-08-05             2016-08-05
;reditor Name           UNIVERSAL CREDIT SVCS    UNIVERSAL CREDIT SER   UNIVERSAL CR
;reditor Address        201 MARPLE AVE CLIFTON
                        HEIGHTS PA, 19018
;reditor Phone          6102841000
                        Experian                 Equifax                Trans Union
1quiry 6
1quiryDate              2016-08-04               2016-08-04             2016-08-04
;reditor Name           EMS/QUICKEN LOANS        EM QUICKEN             EMS QUICKEN
;reditor Address       815 E GATE DR STE 102
                   CaseMOUNT
                        2:18-cv-00348-TJS
                             LAUREL NJ, 08054 Document 3 Filed 02/01/18 Page 17 of 32
;reditor Phone         8889009962
                       Experian                 Equifax                Trans Union
1quiry 7
1quiryDate             2016-08-02               2016-08-02             2016-08-02
;reditor Name          CREDIT PLUS              CREDIT PLUS            CREDIT PLUS
;reditor Address       31550 WINTERPLACE PKWY -
                       SALISBURY MD, 21804
;reditor Phone        4107429551
                       Experian                 Equifax                Trans Union
1quiry8
1quiryDate            2018-01-07
;reditor Name         GREENSKYfTHD LOAN SRVC -
;reditor Address       1797 N EAST EXPY NE
                       BROOKHAVEN GA, 30329
;reditor Phone        8669360605
                      Experian                  Equifax                Trans Union
1quiry 9
1quiryDate            2017-10-13
;reditor Name         WFHOMEEQ
;reditor Address      PO BOX 31557 BILLINGS MT, -
                      59107
;reditor Phone        8008538516
                      Experian                  Equifax                Trans Union
1quiry .10
1quiryDate            2017-09-22                2017-09-22
;reditor Name         CR ED CO                  CREDCO/QUICKEN LOANS   -
;reditor Address      PO BOX509124 SAN DIEGO -
                      CA, 92150
;reditor Phone        8005230233
                      Experian                  Equifax                Trans Union
1quiry 11
1quiryDate            2017-04-14
;reditor Name         WFPLL
;reditor Address      POBOX9445
                      ALBUQUERQUE NM, 87119
;reditor Phone        BYMAILONLY
                      Experian                  Equifax                Trans Union
1quiry 12
1quiry Date           2017-04-03
;reditor Name         WFPLL
;reditor Address      POBOX9445
                      ALBUQUERQUE NM, 87119
;reditor Phone        BYMAILONLY

                      Experian                  Equifax                Trans Union
1quiry 13
1quiry Date           2017-03-29
;reditor Name         WFBBDCRE
;reditor Address      100 W WASHINGTON AVE
                      PHOENIXAZ, 85003
;reditor Phone
                     Case8002319244
                          2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 18 of 32
                         Experian                  Equifax                  Trans Union
1quiry 14
iquiryDate              2016-12-11
;reditor Name           AMEX
;reditor Address         PO BOX 981537 EL PASO TX, -
                         79998
;reditor Phone          8008742717
                         Experian                  Equifax                  Trans Union
1quiry 15
iquiry Date             2016-11-09                 2016-11-09
;reditor Name           CBNA                       CBNA
;reditor Address        PO BOX 6241 SIOUX FALLS    701 EAST 60TH ST NORTH
                        SD, 57117                  SIOUX FALLS SD, 57117
;reditor Phone          BYMAILONLY                 8009505114
                        Experian                   Equifax                  Trans Union
1quiry 16
iquiryDate              2016-10-19
;reditor Name           BK OF AMER
;reditor Address        655 PAPER MILL RD
                        NEWARK DE, 19711
;reditor Phone          8004321000
                        Experian                   Equifax                  Trans Union
1quiry 17
iquiryDate                                         2017-11-28
;reditor Name                                      VERIZON EAST
;reditor Address
;reditor Phone
                        Experian                   Equifax                  Trans Union
1quiry 18
iquiry Date                                        2016-08-15
;reditor Name                                      US DEPARTMENT OF EDU
;reditor Address                                   225 OLD FALLS ST NIAGARA -
                                                   FALLS NY, 14303
;reditor Phone                                     8005577394



Revolving c;re,dit Account~ ..
                        Experian                  Equifax                   Trans Union
lccount 1
~count                  TD BANK USNTARGETCRED -
~count   Number         585975202295XXXX
~count Type             Revolving Account
~count   Condition      Closed
>ate Opened             9th August 2014
iigh Balance            $255
nonthly Payment         $0
~count   Balance        $0
.ast Reported           4th December 2016
1111ount Past Due
                                 Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 19 of 32
.imit                                    $200

~em arks                                 Array

~esponsibility                           Individual

'ast Due - 30 DAYS                       0
'ast Due - 60 DAYS                       0
>ast Due - 90+ DAYS                      0


PAST 24 MONTHS

                                                      2015                                                                                  2016

                 J   F       M       A        M       J       J       A       s    0       N       D       J       F       M   A       M    J   J      A   s   0   N        D

  Experian     OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK OK
  Equifax

 Trans Union

                                         Experian                                          Equifax                                         Trans Union
lccount 2
ICCOUnt                                  DISCOVER FIN SVCS LLC

1ecount Number                           60112089XXXX

ICCOUnt Type                             Revolving Account

1ecount Condition                        Open
>ate Opened                              18th December2013

iigh Balance                             $13527
~onthly   Payment                        $282

1ecount Balance                          $13527

.ast Reported                            3rd January2018

1111ount Past Due
.imit                                    $13600

~em arks                                 Array
~esponsibility                           Individual
>ast Due - 30 DAYS                       0
>ast Due - 60 DAYS                       0
>ast Due - 90+ DAYS                      0


PAST 24 MONTHS

                                              2016                                                                                 2017                            2018
               F     M   A       M        J       J       A       s       0       N:   D       J       F       M       A   M       J   J    A      s   0   N   D       J

 Experian      OK OK OK OK; OK OK OK OK OK OK OK OK' OK OK OK OK OK OK OK OK OK OK OK                                                                                  OK
  Equifax

Trans Union

                                         Experian                                          Equifax                                         Trans Union
lccount 3
ICCOUnt                                  CITI

1ecount Number                           54241812XXXX
\Ccount Type                             Revolving Account
1.Ccount Condition                Open
                             Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 20 of 32
>ate Opened                       9th November2016

iigh Balance                      $6488

~onthly Payment                   $85

1.Ccount Balance                  $5731

.ast Reported                     20th December 2017

1mount Past Due

.imit                             $6200

~em arks

~esponsibility                    Individual

>ast Due - 30 DAYS                0

>ast Due - 60 DAYS                0

>ast Due - 90+ DAYS               0


 PAST 24 MONTHS

                                          2016                                                     2017
                 J   F   M    A       M   J    J   A   S   0   N    D     J   F   M     A    M    J    J    A    S    0    N    D
  Experian                                                     OK . OK : OK   OK . OK   OK   OK   OK   OK   OK   OK   OK • OK   OK

   Equifax

 Trans Union

                                  Experian                      Equifax                           Trans Union
lccount 4
1.Ccount                          BK OF AMER

1.Ccount Number                   1XXX
1.Ccount Type                     Revolving Account

1.Ccount Condition                Open

>ate Opened                       21st October 2016
iigh Balance                      $4991

~onthly Payment                   $45

1.Ccount Balance                  $4584

.ast Reported                     19th December 2017
1mount Past Due

.imit                             $5000

~em arks

~esponsibility                    Individual

>ast Due - 30 DAYS                0
>ast Due - 60 DAYS                0
>ast Due - 90+ DAYS               0
 PAST 24 MONTHS
                             Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 21 of 32
                                             2016                                               2017

                 J   F   M    A          M   J   J   A   s   0   N   D: J      F   M   A   M    J   J   A    s   0   N   D

  Experian                                                       OK OK. OK OK OK OK OK OK OK OK OK OK OK OK
   Equifax

 Trans Union
                                  ,/,   V"




                                  Experian                       Equifax                       Trans Union
lccount 5
1ecount                           AMEX
1ecount Number                    349992096078XXXX

1ecount Type                      Revolving Account

1ecount Condition                 Open
>ate Opened                        17th January2014
iigh Balance                      $1888
/lonthly Payment                  $0
1ecount Balance                   $1104
.ast Reported                     15th December2017

mount Past Due
.imit                             $0
~em arks

~esponsibility                    Individual
>ast Due - 30 DAYS                0
>ast Due - 60 DAYS                0
>ast Due - 90+ DAYS               0


 PAST 24 MONTHS

                                             2016                                               2017
                 J   F   M' A           M    J   J   A   s   0   N   D     J   F   M   A   M   J    J   A    s   0   N   D

  Experian     ·OK OK OK OK OK OK OK OK OK OK OK; OK OK OK OK OK OK OK OK OK OK OK OK OK
   Equifax

 Trans Union

                                  Experian                       Equifax                       Trans Union
lccount 6
1ecount                           CBNA
1ecount Number                    603532040118XXXX
\CCount Type                      Revolving Account
1ecount Condition                 Open
>ate Opened                       4th April 2014
iigh Balance                      $1543
/lonthly Payment                  $75

1ecount Balance                   $1517
.ast Reported                     9th December 2017
mount Past Due

.imit                             $1500
~em arks
                              Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 22 of 32
~esponsibility                     Individual
>ast Due - 30 DAYS                 0
>ast Due - 60 DAYS                 0
>ast Due - 90+ DAYS                0


PAST 24 MONTHS

                                           2016                                                2017

                  J   F   M    A       M   J    J   A   s   0   N   D     J   F   M   A   M   J    J   A    s   0   N   D

  Experian        OK OK OK OK OK OK OK OK OK OK OK. OK OK. OK, OK OK OK OK OK OK OK OK' OK OK
  Equifax

 Trans Union

                                   Experian                     Equifax                       Trans Union
lccount 7
1ecount                            CREDIT ONE BANK NA
1ecount Number                     444796228990XXXX
1ecount Type                       Revolving Account
1ecount Condition                  Open
)ate Opened                        31stJuly2015
~igh    Balance                    $1136
/lonthly Payment                   $57
1ecount Balance                    $1136
.ast Reported                      8th December 2017
mount Past Due

.imit                              $1200
~em arks

~esponsibility                     Individual
>ast Due - 30 DAYS                 0
>ast Due - 60 DAYS                 0
>ast Due - 90+ DAYS                0


PAST 24 MONTHS

                                           2016                                               2017
                  J   F   M    A       M   J    J   A   s   0   N   D     J   F   M   A   M   J   J    A    s   0   N   D

 Experian         OK OK OK OK OK OK OK OK OK OK OK' OK 1 OK OK OK OK OK OK OK OK OK OK OK OK
  Equifax

Trans Union




Line of Credit Accounts
 No account information available.

Real Estate Credit Accounts
 No account information available.
Installment Credit Accounts
             Case 2:18-cv-00348-TJS                            Document 3 Filed 02/01/18 Page 23 of 32
                               Experian                         Equifax                           Trans Union
lccount 1
1ecount                        FED LOAN SERV

1ecount Number                 6989416060FDOXXXX

1ecount Type                   Installment Account

1ecount Condition              Closed

>ate Opened                    12th April 2016

iigh Balance                   $0
/lonthly Payment               $0

1ecount Balance                $0

.ast Reported                  19th June 2017

1111ount Past Due
.imit                          $0
~em arks                       Array
~esponsibility                 Individual
>ast Due - 30 DAYS             0
>ast Due - 60 DAYS             0

>ast Due - 90+ DAYS            0


PAST 24 MONTHS

                       2015                                         2016                                         2017
                 J   A'S   0        ND      J    FM       AM        J     J   A;S       0    ND        J    FM        AM        J

  Experian                                           OK   NA   NA             NA . NA   NA   NA   NA   NA : NA   NA   NA   NA   OK

   Equifax

 Trans Union

                               Experian                         Equifax                           Trans Union
lccount 2
1ecount                        FED LOAN SERV
1ecount Number                 6989416060FDOXXXX
1ecount Type                   Installment Account
1ecount Condition              Closed
>ate Opened                    12th April 2016
iigh Balance                   $0
/lonthly Payment               $0
1ecount Balance                $0
.ast Reported                  19th June 2017
1111ount Past Due
.imit                          $0
~em arks                       Array

~esponsibility                 Individual
>ast Due - 30 DAYS             0
>ast Due - 60 DAYS             0
>ast Due - 90+ DAYS            0
 PAST 24 MONTHS
                             Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 24 of 32
                         2015                                        2016                                    2017

                 J   A   s     0        N   D   J   F    M   A   M   J     J   A   s   0   N    D   J   F    M   A   M   J

  Experian                                                   OK OK OK OK OK OK OK OK OK OK OK. OK OK OK OK
   Equifax

 Trans Union

                                   Experian                      Equifax                       Trans Union
lccount 3
1ecount                            FED LOAN SERV

1ecount Number                     6989416060FDOXXXX
1ecount Type                       Installment Account
1ecount Condition                  Closed
>ate Opened                        23rd August 2016
iigh Balance                       $0

Aonthly Payment                    $0
1ecount Balance                    $0
.ast Reported                      19th June 2017
mount Past Due
.imit                              $0
~em arks                           Array
~esponsibility                     Individual
>ast Due - 30 DAYS                 0
>ast Due - 60 DAYS                 0
>ast Due - 90+ DAYS                0


 PAST 24 MONTHS

                         2015                                        2016                                    2017
                 J   A   s    0         N   D   J   F    M   A   M   J   ' J   A   s   0   N   D    J   F    M   A   M   J

  Experian                                                                         OK OK OK OK OK OK OK OK· OK OK
   Equifax

 Trans Union

                                   Experian                      Equifax                       Trans Union
lccount 4
1ecount                            FED LOAN SERV
1ecount Number                     6989416060FDOXXXX
1ecount Type                       Installment Account
1ecount Condition                  Closed

>ate Opened                        23rd August 2016
iigh Balance                       $0
Aonthly Payment                    $0
1ecount Balance                    $0
.ast Reported                      19th June 2017
mount Past Due
.imit                              $0
{em arks
                               CaseNray
                                    2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 25 of 32
{es pons ibility                    Individual

>ast Due - 30 DAYS                  0
>ast Due - 60 DAYS                  0
>ast Due - 90+ DAYS                 0


 PAST 24 MONTHS

                           2015                                          2016                                  2017
                                     {'y,


                   J   A   SIO           N   D   J   F    M   A   M   J      J   A   s   0   N    D   J    F   M   A   M    J

  Experian                                                                           OK OK OK OK OK OK OK OK OK OK
  Equifax

 Trans Union

                                    Experian                       Equifax                       Trans Union
lccount 5
1ecount                             FED LOAN SERV
1ecount Number                      6989416060FDOXXXX
1ecount Type                        Installment Account

1ecount Condition                   Closed
>ate Opened                         20th June 2010
1igh Balance                        $0

~onthly Payment                     $0
1ecount Balance                     $0
.ast Reported                       19th June 2017
1mount Past Due
.imit                               $0
{em arks                            Nray
{esponsibility                      Individual
>ast Due - 30 DAYS                  0
>ast Due - 60 DAYS                  0
>ast Due - 90+ DAYS                 0


PAST 24 MONTHS

                           2015                                       2016                                     2017
                J      A   s    0       N    D   J   F    M   A   M' J       J   A   s   0   N   D    J   F    M   A   M   J

 Experian      OK OK. OKi OK OK OK NA                NA NA NA NA NA NA NA NA NA NA NA NA NA NA: NA NA                      OK
  Equifax

Trans Union

                                    Experian                      Equifax                        Trans Union
lccount 6
\CCOUnt                             FED LOAN SERV

1ecount Number                      6989416060FDOXXXX
1ecount Type                        Installment Account
1ecount Condition                   Closed
>ate Opened                         7th July 2009
iigh Balance                    $0
                             Case  2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 26 of 32
~onthly   Payment                 $0
1ecount Balance                   $0
.ast Reported                     19th June 2017
mount Past Due
.imit                             $0
~em arks                          /vray
~esponsibility                    Individual
>ast Due - 30 DAYS                0
>ast Due - 60 DAYS                0
>ast Due - 90+ DAYS               0


PAST 24 MONTHS

                         2015                                       2016                                      2017

                 J   A   s    0        N   D   J   F    M   A   M   J      J   A   s   0   N    D   J   F    M   A   M   J

  Experian      ; OK OK OK OK OK OK NA             NA NA NA NA      NA NA NA       NA NA NA NA NA NA NA NA           NA OK
  Equifax

 Trans Union

                                  Experian                       Equifax                       Trans Union
~ccount     7
\CCOUnt                           FED LOAN SERV
1ecount Number                    6989416060FDOXXXX
1ecount Type                      Installment Account
1ecount Condition                 Closed
>ate Opened                       22nd February2010
iigh Balance                      $0
~onthly   Payment                 $0
1ecount Balance                   $0
.ast Reported                     19th June 2017
mount Past Due
.imit                             $0
~em arks                          /vray
~esponsibility                    Individual
>ast Due - 30 DAYS                0
>ast Due - 60 DAYS                0
>ast Due - 90+ DAYS               0


PAST 24 MONTHS

                         2015                                       2016                                     2017

                 J   A   s    0       N    D   J   F    M   A   Mi J       J   A   s   0   N   D    J   F    M   A   M   J

 Experian       OK OK OK OK OK OK NA               NA NA NA NA NA , NA NA NA NA NA             NA NA NA      NA NA . NA OK
  Equifax

Trans Union

                                  Experian                      Equifax                        Trans Union
lccount 8
1ecount                     CaseFED
                                  2:18-cv-00348-TJS
                                    LOAN SERV       Document 3 Filed 02/01/18 Page 27 of 32
1ecount Number                    6989416060FDOXXXX

ICCOunt Type                      Installment Account

1ecount Condition                 Closed

>ate Opened                       22nd February 2010

iigh Balance                      $0
~onthly   Payment                 $0
1ecount Balance                   $0
.ast Reported                     19th June 2017

11Tiount Past Due
.imit                             $0
~em arks                          /ltray
~esponsibility                    Individual
>ast Due - 30 DAYS                0
>ast Due - 60 DAYS                0
>ast Due - 90+ DAYS               0


 PAST 24 MONTHS

                           2015                                           2016                                                  2017
                 J    A    s;o         N   D   J    FM        AM         J         J         A    s    0    N    D    J    FM        AM        J

  Experian     . OK   OK   OK : OK OK OK       NA   NA   NA   NA . NA   NA       NA        NA     NA   NA   NA   NA   NA   NA   NA   NA   NA   OK

   Equifax

 Trans Union
                                                                        ,,,.,f,c;,,c;-'"   '""'



                                  Experian                          Equifax                                      Trans Union
lccount 9
1ecount                           FED LOAN SERV
1ecount Number                    6989416060FDOXXXX
ICCOUnt Type                      Installment Account
1ecount Condition                 Closed
>ate Opened                       8th September 2009
iigh Balance                      $0
~onthly Payment                   $0
1ecount Balance                   $0
.ast Reported                     19th June 2017
llTiount Past Due

.imit                             $0
~em arks                          /ltray
~esponsibility                    Individual
>ast Due - 30 DAYS                0
>ast Due - 60 DAYS                0
>ast Due - 90+ DAYS               0
 PAST 24 MONTHS
                             Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 28 of 32
                         2015                                        2016                                    2017

                 J,A     s     0        N   D   J   F    M   A   M' J      J   A   s   0   N    D   J    F   M   A   M   J

  Experian      OK OK OK OK OK OK NA                NA NA NA NA· NA NA NA NA NA NA NA               NA   NA ·NA NA . NA OK
   Equifax

 Trans Union

                                   Experian                      Equifax                       Trans Union
lccount 10
\CCOUnt                            FED LOAN SERV

\Ccount Number                     6989416060FDOXXXX

\Ccount Type                       Installment Account
\Ccount Condition                  Closed
>ate Opened                        7th July2009
iigh Balance                       $0
~onthly   Payment                  $0
\Ccount Balance                    $0
.ast Reported                      19th June 2017
mount Past Due
.imit                              $0
~em arks                           ATray
~esponsibility                     Individual
>ast Due - 30 DAYS                 0
>ast Due - 60 DAYS                 0
>ast Due - 90+ DAYS                0


 PAST 24 MONTHS

                         2015                                       2016                                     2017
                 J   A   s    0         N   D   J   F    M   A ·M   J   i J    A   s   0   N   D    J    F   M   A   M   J

  Experian      OK' OK OK' OK OK OK NA              NA NA NA NA NA NA NA· NA 'NA NA NA NA NA NA NA •NA OK
   Equifax

 Trans Union

                                   Experian                      Equifax                       Trans Union
lccount 11
\CCOUnt                            FED LOAN SERV
\CCount Number                     6989416060FDOXXXX
\Ccount Type                       Installment Account
\Ccount Condition                  Closed
>ate Opened                        8th September 2009
iigh Balance                       $0
~onthly Payment                    $0

\Ccount Balance                    $0
.ast Reported                      19th June 2017
mount Past Due
.imit                              $0
~em arks                                            hray
                                            Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 29 of 32
~esponsibility                                      Individual

>ast Due - 30 DAYS                                  0
>ast Due - 60 DAYS                                  0
>ast Due - 90+ DAYS                                 0


    PAST 24 MONTHS

                                            2015                                          2016                                                    2017

                            J             A;S   0        N   D   J    F   M    A    M    J      J         A        s    0    N     D   J    F    M    A    M    J

     Experian             OK OK ' OK OK OK OK NA                     NA   NA   NA   NA   NA    NA        NA        NA   NA   NA   NA   NA   NA   NA   NA   NA   OK
     Equifax

    Trans Union

                                                    Experian                         Equifax                                      Trans Union
lccount 12
1ecount                                             FED LOAN SERV

1ecount Number                                      6989416060FDOXXXX
1ecount Type                                        Installment Account
1ecount Condition                                   Closed
>ate Opened                                         19th March 2009
~igh    Balance                                     $0
                ,;~,;   ''~'"   ~   M",




~onthly Payment                                     $0
1ecount Balance                                     $0
.ast Reported                                       19th June 2017

1mount Past Due
.imit                                               $0
~em arks                                            hray
~esponsibility                                      Individual
>ast Due - 30 DAYS                                  0
>ast Due - 60 DAYS                                  0
ast Due - 90+ DAYS
1
                                                    0


PAST 24 MONTHS

                                            2015                                         2016                                                    2017
                           J          A     s   0       N    D   J   F    M    A    M    J     J         A         s    0    N    D    J    F    M    A    M    J

    Experian             OK OK OK OK OK OK NA                        NA   NA   NA   NA . NA    NA i NA             NA   NA   NA   NA   NA   NA   NA   NA   NA   OK
                                                                                                    y·   "~·   0




     Equifax

Trans Union

                                                    Experian                         Equifax                                      Trans Union
lccount 13
\CCOUnt                                             FED LOAN SERV

1ecount Number                                      6989416060FDOXXXX
1ecount Type                                        Installment Account
1ecount Condition                                   Closed
)ate Opened                                         19th March 2009
iigh Balance                       $0
                             Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 30 of 32
11onthly Payment                   $0

1ecount Balance                    $0

.ast Reported                      19th June 2017

1111ount Past Due

.imit                              $0
~em arks                           Array

~esponsibility                     Individual

>ast Due - 30 DAYS                 0

>ast Due - 60 DAYS                 0

>ast Due - 90+ DAYS                0


PAST 24 MONTHS

                         2015                                            2016                                   2017

                 J   A   s     0        N   D   J   F    M   A   M   J      J   A    s   0    N    D   J   F    M• A    M   J

  Experian      OK OK OK' OK OK OK NA               NA NA    NA NA ·NA NA i NA      NA   NA NA    NA NA• NA NA . NA     NA OK
   Equifax

 Trans Union

                                   Experian                      Equifax                          Trans Union
lccount 14
\CCOUnt                            FED LOAN SERV
1ecount Number                     6989416060FDOXXXX
1ecount Type                       Installment Account

1ecount Condition                  Closed

>ate Opened                        20th June 2010

iigh Balance                       $0
~onthly Payment                    $0
1ecount Balance                    $0
.ast Reported                      19th June 2017
1111ount Past Due
.imit                              $0
~em arks                           Array
~esponsibility                     Individual
>ast Due - 30 DAYS                 0
>ast Due - 60 DAYS                 0
>ast Due - 90+ DAYS                0


PAST 24 MONTHS

                         2015                                        2016                                       2017
                 J   A   s     0       N    D   J   F    M   A   M   J     J    A   s    0    N   D    J   F    M   A   M   J

 Experian      OK OK• OK OK OK OK NA                NA NA NA ·NA NA        NA: NA   NA   NA   NA NA NA NA NA NA NA OK
  Equifax

Trans Union

                                   Experian                      Equifax                          Trans Union
lccount 15
1ecount
                          CaseFED
                               2:18-cv-00348-TJS
                                  LOAN SERV
                                                 Document 3 Filed 02/01/18 Page 31 of 32
1ecount Number                   6989416060FDOXXXX

1ecount Type                     lnstallm ent Account
1ecount Condition                Closed
>ate Opened                      24th October 2010
iigh Balance                     $0
/lonthly Payment                 $0
1ecount Balance                  $0

.ast Reported                    19th June 2017

mount Past Due
.imit                            $0
~em arks                         Array
~esponsibility                   Individual
'ast Due - 30 DAYS               0
'ast Due - 60 DAYS               0
'ast Due - 90+ DAYS              0


 PAST 24 MONTHS

                          2015                                       2016                                          2017
                 J   A   S'.O         ND      J   FM         AM      J      J   AiS       0    ND        J    FM        AM        J

  Experian      OK   OK ' OK ; OK • OK OK NA      NA    NA   NA                 NA   NA   NA   NA · NA   NA · NA   NA   NA • NA   OK

   Equifax

 Trans Union

                                 Experian                         Equifax                          Trans Union
lccount 16
1ecount                          FED LOAN SERV
1ecount Number                   6989416060FDOXXXX
1ecount Type                     Installment Account
1ecount Condition                Closed
>ate Opened                      8th January 2011
iigh Balance                     $0
llonthly Payment                 $0
1ecount Balance                  $0
.ast Reported                    19th June 2017
mount Past Due

.imit                            $0
~em arks                         Array
~esponsibility                   Individual
'ast Due - 30 DAYS               0

'ast Due - 60 DAYS               0
'ast Due - 90+ DAYS              o.
 PAST 24 MONTHS
                              Case 2:18-cv-00348-TJS Document 3 Filed 02/01/18 Page 32 of 32
                          2015                                         2016                                                  2017

                  J   A   s     0        N   D   J   F    M    A   M   J      J            A       s   0   N    D   J   F    M   A   M    J

  Experian     •OK OK OK OK OK OK NA                 NA   NA' NA NA NA NA; NA: NA NA NA NA                          NA NA NA NA ·NA OK
   Equifax

 Trans Union

                                    Experian                        Equifax                                    Trans Union
lccount 17
\CCOUnt                             FED LOAN SERV

\Ccount Number                      6989416060FDOXXXX

\Ccou nt Type                       Installment Account

\Ccount Condition                   Closed

>ate Opened                         2nd April 2011
~igh    Balance                     $0
t1onthly Payment                    $0

\Ccount Balance                     $0

.ast Reported                       19th June 2017
mount Past Due
.imit                               $0

~em arks                            Array

~esponsibility                      Individual
>ast Due - 30 DAYS                  0
>ast Due - 60 DAYS                  0
>ast Due - 90+ DAYS                 0


PAST 24 MONTHS

                          2015                                         2016                                                  2017
                  J   A   s     0        N   D   J   F    M    A   M' J • J                A,S         0   N   D    J   F    M   A   M    J
                                                                                               ;
  Experian        OK' OK OK OK OK OK NA              NA   NA   NA •NA NA' NA: NA ; NA NA NA NA NA NA NA ; NA                         NA   OK
                                                                                  ~~   '

  Equifax

 Trans Union

                                    Experian                       Equifax                                     Trans Union
lccount 18
\Ccount                             FED LOAN SERV
\Ccount Number                      6989416060FDOXXXX
\Ccount Type                        Installment Account
\Ccount Condition                   Closed

>ate Opened                         2nd April 2011
~igh    Balance                     $0

nonthly Payment                     $0

\Ccount Balance                     $0
.ast Reported                       19th June 2017
mount Past Due
.imit                               $0
